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 6

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 8
                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
10

11
     In re Google RTB Consumer Privacy          CASE NO. 4:21-cv-02155-YGR
12   Litigation,

13                                              JOINT STIPULATION AND [PROPOSED]
                                                ORDER RE RENEWED CLASS
14                                              CERTIFICATION MOTION AND CASE
     This Document relates to: all actions.     SCHEDULE
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16                                              Civil L.R. 6-1(b); 6-2(a)

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     JOINT STIPULATION AND [PROPOSED] ORDER RE
     RENEWED CLASS CERT. MOTION AND CASE SCHEDULE                           4:21-CV-02155-YGR-VKD
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 1          On February 21, 2025, the parties advised the Court that they had participated in a mediation

 2 before Shirish Gupta at JAMS in San Francisco on February 20, 2025, that the parties had made

 3 substantial progress during that mediation session, and that a further mediation session had been

 4 scheduled with Mr. Gupta for March 7, 2025. See Feb. 21, 2025 Joint Stipulation and [Proposed]

 5 Order (ECF 762).

 6          In light of these events, the parties requested that the Court extend the remaining pretrial case

 7 schedule by approximately five weeks and defer setting a hearing on the pending class certification

 8 motion to allow the parties to focus their efforts on a potential resolution and avoid potential expense

 9 and time incurred in further litigation at this time. Id.

10          On March 4, 2025, the Court granted the Stipulation and extended the pretrial case schedule

11 by approximately five weeks. See March 4, 2025 Order (ECF 763).

12          The parties participated in a second mediation session before Mr. Gupta on March 7, 2025,

13 and again made substantial progress during that mediation session.

14          Since the March 7, 2025 mediation session, the parties have continued to work diligently with

15 Mr. Gupta on a number of settlement issues and are continuing to make progress. Because some

16 aspects of the parties’ settlement discussions require review and participation by multiple

17 stakeholders at Google, additional time is needed for the parties to fully explore potential settlement

18 options.

19          In light of the progress being made in the mediation and in the parties’ settlement discussions,

20 the parties agree that, subject to Court approval, the current case schedule should be extended by an

21 additional four weeks to allow the parties to continue to focus their efforts on a potential resolution

22 and avoid potential expense and time incurred in further litigation at this time.

23          In light of the foregoing, and subject to Court approval, the parties now stipulate to and

24 propose the following revised case schedule:

25                Event                   Current Case Schedule                New Case Schedule
      Class Certification Motion       Motion: November 8, 2024           November 8, 2024
26                                     Opposition: January 31, 2025       January 31, 2025
27                                     Reply: April 11, 2025              May 9, 2025
                                       Hearing: TBD                       TBD
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     JOINT STIPULATION AND [PROPOSED] ORDER RE
     RENEWED CLASS CERT. MOTION AND CASE SCHEDULE                                  4:21-CV-02155-YGR-VKD
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 1    Opening Expert Reports         May 23, 2025                       June 20, 2025
      Rebuttal Expert Reports        July 3, 2025                       August 1, 2025
 2    Close of Expert Discovery      August 1, 2025                     August 29, 2025
 3    Dispositive/Daubert Motions    Motions: August 22, 2025           September 19, 2025
                                     Oppositions: October 3, 2025       October 31, 2025
 4                                   Replies: October 31, 2025          December 5, 2025
                                     Hearing: TBD                       TBD
 5

 6          NOW, THEREFORE, and in light of the foregoing, the parties stipulate and request that,

 7 subject to the Court’s approval, the revised case schedule set forth above be entered.

 8   SO STIPULATED.

 9   Dated: April 1, 2025

10                                                                COOLEY LLP
     PRITZKER LEVINE LLP
11                                                                By: /s/ Whitty Somvichian__
     By: /s/ Elizabeth C. Pritzker______                          Whitty Somvichian (SBN 194463)
12   Elizabeth C. Pritzker (SBN 146267)                           Aarti G. Reddy (SBN 274889)
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     bc@pritzkerlevine.com
18                                                               Counsel for Defendant Google LLC
     Interim Class Counsel
19

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21                                          [PROPOSED] ORDER
22          Having considered the parties’ stipulation, the Court enters the case schedule as stipulated
23 by the parties and as set forth above.

24 SO ORDERED.

25 Dated: April 1
          __________, 2025
                                                     Hon. Yvonne Gonzalez Rogers
26                                                   United States District Court Judge
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     JOINT STIPULATION AND [PROPOSED] ORDER RE
     RENEWED CLASS CERT. MOTION AND CASE SCHEDULE                               4:21-CV-02155-YGR-VKD
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 1                                          ATTESTATION

 2
           I, Bethany Caracuzzo, attest that concurrence in the filing of this document has been obtained
 3

 4 from the other signatories. Executed on April 1, 2025 in Emeryville, California.

 5                                                              /s/ Bethany Caracuzzo
                                                                Bethany Caracuzzo
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     JOINT STIPULATION AND [PROPOSED] ORDER RE
     RENEWED CLASS CERT. MOTION AND CASE SCHEDULE                                 4:21-CV-02155-YGR-VKD
